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                              UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEVADA


UNITED STATES SECURITIES AND                             )
EXCHANGE COMMISSION,                                     )
                                                         )
               Plaintiff,                                ) Case No. 2:11-CV-02011-JAD-VCF
                                                         )
v.                                                       )
                                                         )
ROCCO BRANDONISIO, JR., ET AL.,                          )
                                                         )
               Defendants,                               )
                                                         )


 SATISFACTION OF MONETARY PROVISIONS ONLY OF THE FINAL JUDGMENT
                AGAINST DEFENDANT ANDREA RITCHIE

       Plaintiff, United States Securities and Exchange Commission, hereby acknowledges that

Defendant, Andrea Ritchie, remitted payments in the total amount of $25,022 on January 1, 2016,

and March 24, 2016. These payments satisfied the monetary provisions only of the Final Judgment

entered by this Court on September 24, 2013. All other provisions of and relief granted by the Final

Judgment remain in effect.

       This satisfaction does not affect any other Judgment entered against any other defendant in

the above captioned matter.

Date: June 3, 2016                            Respectfully submitted,


                                              /s/Christy J. White
                                              Christy J. White
                                              DC Bar No.: 974102
                                              United States Securities and Exchange Commission
                                              100 F Street, NE, MS 5628
                                              Washington, DC 20549
                                              (202) 551-4502 (Phone)
                                              Whitechr@sec.gov
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                                 CERTIFICATE OF SERVICE

       I hereby certify that o n J u n e 3 , 2 0 1 6 , I caused a true and correct copy of Plaintiff

Securities and Exchange Commission's Satisfaction of Monetary Provisions Only of the Final

Judgment Against Defendant Andrea Ritchie to be served through the Court’s Electronic Court

Filing System (or CM/ECF System), which will automatically send an email notification of such

filing to the parties of record, and to the following by way of email:

                               Andrea Ritchie
                               2114 Crystal Cove Way
                               San Marcos, CA 92078
                               andreabritchie@gmail.com


Dated this 3rd day of June, 2016.

                                      By:     /s/Christy J. White
                                              Christy J. White
                                              DC Bar No.: 974102
                                              United States Securities and Exchange Commission
                                              100 F Street, NE, MS 5628
                                              Washington, DC 20549
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